           Case: 1:22-cv-01941 Document #: 1 Filed: 04/14/22 Page 1 of 10 PageID #:1                                                   JFNT
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                                                                                                           B, IE,E                     D
                                     MOTION UNDER 28 U.S.C. SECTION 2255
                                      T]NITED STATES DISTRICT COURT                                                  iIR 1 a,nzt{tt
                                      NORTHERN DISTRICT OF ILLINOIS
                                                                                                                   THOMAS G. BRUTON
                                                                                                             cuerii, u.s. DlsTRlcr couRT


               MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
                           PERSON IN FEDERAL CUSTODY




United States of America




                                                                                   CASENO.l:          \q - LQ, AoZ7 7 ( t
 V.                                                                               (Tobe.rppffi                                     1




(Full name and prison number of movant)                                                         22-CV-194',t
 53't 5 u-4?4                                                                                   Judge Chang
                                                                                                Magistrate Judge Cole
                                                                                                119ca77-11


           IF THE MOVANT HAS A SENTENCE TO BE SERVED IN THE FUTURE UNDER
           A FEDERAL  JUDGMENT WHICH HE WISHES TO ATTACK, HE SHOULD
           FILE A MOTION IN THE FEDERAL COURT WHICH ENTERED THE
           JUDGMENT.



      1.   Place of detention, or         if on parole,     date of parole release
                                                                                                                                   qrdL 4'so
      2.   Nameandlocationofcourtwhichsentencewas imposedandname ofjudge who imposed the
           sentence which is now under attack.

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a
J.        Date ofjudgment of conviction:
                 /lL,l     .-



4.        Case      number:         I ; lg -
5.        Length of sentence,              1El NCnf h5
6.                                              ^1a {oY< (A I qV:nY
          Nature of offense involved (all counts)              :   I   X ' 15 gq

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                                                                      ?w
                                                              & f teq 728-w W,
7.        What was your plea?        (checkone) Wq5      pvpYt(                                 A                   Cqil_    ofi
          (A)            Not guilty                                        tr
          (B)            Guilty                                            R
          (C)            Nolo Contendere                                   tr

8.         Kind of trial:                                          (check one)

          (A)            Jury                                              !
          (B)            Judge only                                        d
9.         Did you testiff at the trial?
           Yes tr                                              NoE
10.        Did you appeal from the judgment of conviction?
           Yes tr                                              NoR
I    l.    If you did           appeal, answer the following:

          (A) Name of court                                 T:\ A
                                                                       I
          (B) nesult                                         Al //
          (C)             Date of result

12.       Other than a direct appeal from the judgment of conviction and sentence, have you
          previously filed any petitions, applications or motions with respect to this judgment in any
          federal court?
          Yes tr                                               NoF

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            [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




13.        If your     answer to (12) was 66YESr" give the following information:

(A)        (l)      Name of      court                   n   i   /I
           (2)      Nature of proceed ire N, /A
           (3)       Grounds raised              \t I 4
                                 --------------- F-{-F{

           (4)       Did you receive        an evidentiary hearing on your petition, application or motion?
                     Yes        tr                                       NoX
                                                                   ,lA
           (6)      Date of    res
                                     "k                          N    /A
(B)       As to any second petition, application or motion, give the same ipformation:

          (l)       Name of court

          (2)       Nature of proceed         ine                    4 /,4
          (3)       Grounds      raised                              N[ /
                                                                                '',




          (4)       Did you receive         an evidentiary hearing on your petition, application or motion?
                    YestrNoE
          (5)       Resurt                                                  /
          (6)       Date of result
                                                                      ^l

(C    )    As to any third petition, application or motion, give the same information:

          (1)       Name of      court                                     /h
          (2)       Nature of proceed        i"s                      ^hJ JA
          (3)       Grounds raised

          (4)       Did you receive         an evidentiary hearing on your petition, application or motion?
                    Yes         tr                                       NoE
          (s)       Result

          (6)       Date of result


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(D)    Did you appeal, to an appellate federal court having jurisdiction, the result of action taken
       on any petition, application or motion?

      (1)        First petition,    etc.                          Yes tr               No &
      (2)        Second petition,       etc.                      Yes tr              No K
      (3)        Third petition,     etc.                         Yes tr              No R
(E)   If you did notappeal from the adverse action on any petition, application or motion, explain
      briefly why you did not:




      State concisely every ground on which you claim that you are being held unlawfully.
      Summarize briefly the facts supporting each ground. If necessary, you may attach pages
      stating additional grounds and facts supporting same.

CAUTION: IF YOU FAIL TO SET FORTH ALL GROUNDS IN THIS MOTION, YOU
                 MAY BE BARRED FROM PRESENTING ADDITIONAL GROUNDS AT A
                 LATER DATE.

A.    Ground
                  """     xi           Ca$t        z l\tVough Vn fni 3(ahort
       fr6rn 1an Anlor)io teXa7 \il\lL^' 6 r S on
      Supporting FA                 (Tell your     s                without citing      cases   or law.)
                                                                              a


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B.   Ground*"           A\S.FT il"hf#:                               fr;?Y tee                           eq.h
                                                                                       w1 Vt s,k                     L'.,
     Supporting FACTS: (Tell your story briefly without citing cases or law.)


                                                                                                                            \of



C.   Ground three




     Supporting FACTS: (Tell your story briefly without citing cases or law.)




D.




     A\
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      Supporting FACTS: (Tell your story briefly without citing cases or law.)




                                                                                                                                     +
                                                                                                                               )trs



15.   If any of the grounds listed in 14 A, B, C, and D were not previously presented,                               state briefly
      what grounds were nnot so presented,jld give your r,easons for not presentr




                              be
                                                                                                                                     il
       on rft\                            hA       tf                                      @'nsgr                                    {-c
t6.   Do you have any petition or appeal now pending in any court as to the judgment under
      attack? Yes tr                      No El

      (A)         If "YES,"      state the name of the court and the nature of the proceeding:




17.   Give the name and address, if known, of each attorney who represented you in the
      following stages of the judgment attacked herein:

      (A)        At preliminary hearing            R   A\         P r ]O ft

      (B)        At arraignment and pr.u
                                                        ? O bgf I R a S C,i o

                                             6t4                                                          Revised 06105/2015




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                             2o ber!                        Ra-;Ciq                 6ld A 9eo-vtnna er                              ba 654
       (C)        At trial



       (D)        At sentencing

                   C    5ir, N D e:o.l\onr,. .;{                              5u;     'k -                 chi'eqgo        'i   I   ta A{4      ,




       (E)        On appeal




       (F)       In any post-conviction          proceeding /q /A


       (G)       On appeal from any adverse ruling in a post-conviction proceeding




18.   Were you sentenced on more than one count of an indictment, or more than one indictment,
      in the same court and at approximately the same time? Yes       tr      No ,B
19.   Do you have any future sentence to serve after you complete the sentence imposed by the
      judgment under attack?                    YestrNoF
       (A)       Ifso, give the name and location of the court which imposed the sentence to be
                 served in the future:




       (B)       And give the date and length of sentence to be served in the future:




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         WHEREFORE, movant prays that the Court grant him alt relief to which he may be entitled in this
         proceeding.



          ./                                                                               ra
         Signature of attomey (if any)




                                                                                I declare underpenalty of perjury that the
                                                                                foregoing is true and correct.

                                                                                Executed      on 3       -3-4     -ZZ
                                                                                                           (date)




                                                                                           4
                                                                                Signature of Movant




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